          Case 19-05422-5-SWH                     Doc 46 Filed 02/03/20 Entered 02/03/20 16:30:10                                  Page 1 of 49


Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)      19-05422-5                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Imperial Frozen Foods Holdco, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3150 Rogers Road, Suite 212
                                  Wake Forest, NC 27587
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Imperial Frozen Foods Holdco, LLC                                                            Case number (if known)    19-05422-5
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Imperial Frozen Foods Holdco, LLC                                                         Case number (if known)   19-05422-5
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Imperial Frozen Foods Holdco, LLC                                                        Case number (if known)   19-05422-5
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 3, 2020
                                                  MM / DD / YYYY


                             X   /s/ Craig Higgins                                                        Craig Higgins
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Gerald A. Jeutter, Jr.                                                Date February 3, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gerald A. Jeutter, Jr. 17724
                                 Printed name

                                 Smith Anderson
                                 Firm name

                                 150 Fayetteville Street, Ste. 2300
                                 P.O. Box 2611
                                 Raleigh, NC 27602-2611
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-821-1220                  Email address      jjeutter@smithlaw.com

                                 17724 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Imperial Frozen Foods Holdco, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         19-05422-5
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule             A/B, D, E/F, G, H, Summary
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 3, 2020                        X /s/ Craig Higgins
                                                                       Signature of individual signing on behalf of debtor

                                                                       Craig Higgins
                                                                       Printed name

                                                                       CFO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Imperial Frozen Foods Holdco, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)               19-05422-5
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       12,289,392.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       12,289,392.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       35,752,954.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           956,327.47


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         36,709,281.47




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
        Case 19-05422-5-SWH                            Doc 46 Filed 02/03/20 Entered 02/03/20 16:30:10                                 Page 8 of 49

 Fill in this information to identify the case:

 Debtor name         Imperial Frozen Foods Holdco, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         19-05422-5
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     See attached                                                                                                                     $1,062.05



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,062.05
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Imperial Frozen Foods Holdco, LLC                                            Case number (If known) 19-05422-5
                Name



                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    See attached                                                             %                                          Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                              $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Imperial Frozen Foods Holdco, LLC                                             Case number (If known) 19-05422-5
                Name

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            To be provided to Trustee                                             $14,823,529.95     N/A                             $12,288,329.95



 66.        Total of Part 10.                                                                                                      $12,288,329.95
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor          Imperial Frozen Foods Holdco, LLC                                                                   Case number (If known) 19-05422-5
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,062.05

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                            $12,288,329.95

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $12,289,392.00             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,289,392.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                                                                    In re [Debtor Name]
                                                                                    Case No. [Case No.]
                                                       Schedule A/B: Part 1, Question 3 - Checking, savings or other financial accounts


Schedule A/B: Part 1, Question 3 - Checking, savings or other financial accounts

Debtor Name                                   Name of Institution            Type of Account                Last 4 digits of account number                                   Current Value of Debtor's Interest
Imperial Frozen Foods Hold Co LLC          PNC Bank                      Checking                    8346                                                                                                    $1,062.05




                                                                                                                                                                      Case 19-05422-5-SWH
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                                                                                            1 of 1                                                                    Page 1
                                                                                                     In re [Debtor Name]
                                                                                                      Case No. [Case No.]
                           Schedule A/B: Part 4, Question 15 - Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an LLC, partnership or joint venture



Schedule A/B: Part 4, Question 15 - Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an LLC, partnership or joint venture

Debtor Name                                               Name of Entity                    Percentage of Ownership               Valuation Method Used for Current Value                                                     Current Value of Debtor's Interest
Imperial Frozen Foods Hold Co LLC            Happy and Healthy Hold Co LLC                                              90% Book Value                                                                                                                           $0.00
Imperial Frozen Foods Hold Co LLC            Happy Healthy LLC (Joint Venture)                                          65% Book Value                                                                                                                           $0.00
Imperial Frozen Foods Hold Co LLC            Energy Club Holdings LLC                                                    5% Purchase Price                                                                                                               $9,000,000.00




                                                                                                                                                                                                    Case 19-05422-5-SWH
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                                                                          49
 Fill in this information to identify the case:

 Debtor name         Imperial Frozen Foods Holdco, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)             19-05422-5
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Advantage Capital Ag
 2.1                                                                                                                     $9,108,046.00                       $0.00
       Partners L.P.                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Machinery and Equipment
       Attn: Officer/Manager
       190 Carondelet Plaza, Suite
       1500
       Saint Louis, MO 63105
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Tree Line Direct Funding
 2.2                                                  Describe debtor's property that is subject to a lien             $26,644,908.00                        $0.00
       LP
       Creditor's Name                                Machinery and Equipment
       c/o Matthew Warren
       353 N Clark Street, 12th
       Floor
       Chicago, IL 60654
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Imperial Frozen Foods Holdco, LLC                                                       Case number (if know)       19-05422-5
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                              $35,752,954.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Thompson Coburn LLP
        Attn: Jarrod Sharp                                                                                   Line   2.1
        One US Bank Plaza
        Saint Louis, MO 63101




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Imperial Frozen Foods Holdco, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)           19-05422-5
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $0.00
           Alabama Department of Revenue                             Check all that apply.
           PO Box 327320                                                Contingent
           Montgomery, AL 36132                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $0.00
           Chatham County Tax                                        Check all that apply.
           Commissioner                                                 Contingent
           PO Box 117037                                                Unliquidated
           Atlanta, GA 30368                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          City of Savannah Revenue                                   Check all that apply.
          Department                                                    Contingent
          PO Box 1228                                                   Unliquidated
          Savannah, GA 31402                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          Georgia Department of Revenue                              Check all that apply.
          PO Box 105678                                                 Contingent
          Atlanta, GA 30348                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          Internal Revenue Service                                   Check all that apply.
          P. O. Box 7346                                                Contingent
          Philadelphia, PA 19101                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          NC Department of Revenue                                   Check all that apply.
          Bankruptcy Unit                                               Contingent
          P.O. Box 1168                                                 Unliquidated
          Raleigh, NC 27602                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           NYS Tax Department - IT-2659                              Check all that apply.
           PO Box 15179                                                 Contingent
           Albany, NY 12212                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           Social Security Administration                            Check all that apply.
           Office of the General Counsel,                               Contingent
           Regi                                                         Unliquidated
           61 Forsyth Street, SW, Ste 20T45                             Disputed
           Atlanta, GA 30303
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           Texas Department of State Health                          Check all that apply.
           Se                                                           Contingent
           PO Box 12008                                                 Unliquidated
           Austin, TX 78711                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Alex McIntosh                                                               Contingent
           913 Southerly Road, #034                                                    Unliquidated
           Towson, MD 21204                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Investor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Alex Meyer                                                                  Contingent
           2468 N Bogus Basin Road                                                     Unliquidated
           Boise, ID 83702                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Investor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Amy Ford                                                              Contingent
          6316 Clamshell Drive                                                  Unliquidated
          Wake Forest, NC 27587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,063.23
          Ankura Consulting Group                                               Contingent
          Attn: Officer/Manager                                                 Unliquidated
          485 Lexington Avenue                                                  Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Bill Arends                                                           Contingent
          167 Colonade Circle                                                   Unliquidated
          Naples, FL 34103                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Brian Tracy                                                           Contingent
          4125 N Hermitage Ave                                                  Unliquidated
          Chicago, IL 60613                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Cody Miller                                                           Contingent
          385 Ridgewood Park Drive N                                            Unliquidated
          Richmond Hill, GA 31324                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Craig Higgins                                                         Contingent
          2104 Higley Drive                                                     Unliquidated
          Wake Forest, NC 27587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Daniel Asher Descendants Trust                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          111 W Jackson Blvd, Ste 2000                                          Disputed
          Chicago, IL 60604
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,442.77
          Dewey Pegno and Kramarsky LLP                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          777 Third Avenue                                                      Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edward Behen                                                          Contingent
          1761 Old Homestead                                                    Unliquidated
          Rochester, MI 48306                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Eric Meyer                                                            Contingent
          34 San Savio Drive                                                    Unliquidated
          Austin, TX 78738                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Foundation for Education and R&D                                      Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2800 Niagara Lane                                                     Disputed
          Minneapolis, MN 55447
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gary Freeman                                                          Contingent
          1715 Blair House Court                                                Unliquidated
          Bloomfield Hills, MI 48302                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Gen 7 Investments                                                     Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          101 5th Street North                                                  Disputed
          Fargo, ND 58102
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          GK Holdings 1, LLC                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          150 N Riverside Plz, Ste 4270                                         Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          H.P. Skolnick, Inc                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          PO Box 3354                                                           Disputed
          Monterey, CA 93942
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Henneman Family, LLC Series B                                         Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1605 S State St                                                       Disputed
          Champaign, IL 61820
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Irv Kessler                                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2800 Niagara Lane                                                     Disputed
          Minneapolis, MN 55447
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jai Kim Jung                                                          Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          205 Hudson St                                                         Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Jeremy Medler                                                         Contingent
          402 Trefoil Street                                                    Unliquidated
          Savoy, IL 61874                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          JJ&E Heritage Holding LLC                                             Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          4147 66th St S                                                        Disputed
          Fargo, ND 58104
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Joda Crabtree                                                         Contingent
          PO Box 461                                                            Unliquidated
          Watseka, IL 60970                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John Gibbons                                                          Contingent
          940 Lawrence Avenue                                                   Unliquidated
          Westfield, NJ 07090                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          John March                                                            Contingent
          13225 Cardinal Creek Road                                             Unliquidated
          Eden Prairie, MN 55346                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Keeling Family Limited Partnership                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1624 Cobblefield Road                                                 Disputed
          Champaign, IL 61822
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,003.64
          Kenex Holdings LLC                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          150 N Wacker, Suite 3025                                              Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kessler Family Limited Partnership                                    Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2800 Niagara Lane                                                     Disputed
          Minneapolis, MN 55447
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kevin Migdal                                                          Contingent
          3044 Lawson Walk Way                                                  Unliquidated
          Rolesville, NC 27571                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Lakeview Group LLC                                                    Contingent
          Attn: Officer/Manager                                                 Unliquidated
          150 N Wacker Drive, Suite 3025                                        Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Laurie Steed                                                          Contingent
          104 Darmouth Road                                                     Unliquidated
          Raleigh, NC 27609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leonard Patrict Hanemann                                              Contingent
          6919 N 1st Lane                                                       Unliquidated
          McAllen, TX 78504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Leslie Neitzel Revocable Trust                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          4308 Brittany Trail Drive                                             Disputed
          Champaign, IL 61822
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $176.50
          Lightfoot Franklin & White LLC                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          400 20th St North, Clark Building                                     Disputed
          Birmingham, AL 35203
                                                                             Basis for the claim:    Account
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Luca DaPonte                                                          Contingent
          4309 Gallatree Lane                                                   Unliquidated
          Raleigh, NC 27616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matt Goldthwaite                                                      Contingent
          503 Marquis Lane                                                      Unliquidated
          Mansfield, TX 76063                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Matt Lester                                                           Contingent
          2550 Telegraph Road, Suite 200                                        Unliquidated
          Bloomfield Hills, MI 48302                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Imperial Frozen Foods Holdco, LLC                                                       Case number (if known)            19-05422-5
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Michael Small                                                         Contingent
          2014 Byrnebruk Drive                                                  Unliquidated
          Champaign, IL 61822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mike Zwiegbaum                                                        Contingent
          29 Circle W                                                           Unliquidated
          Minneapolis, MN 55436                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nicholas Cooper                                                       Contingent
          111 West Wacker, Apt 2010                                             Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Peter Kenefick                                                        Contingent
          581 E Lake Street                                                     Unliquidated
          Wayzata, MN 55391                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Prophet Capital Management, LTD                                       Contingent
          Attn: Officer/Manager                                                 Unliquidated
          5000 Plaza on the Lake #180                                           Disputed
          Austin, TX 78746
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Rick Schmidt                                                          Contingent
          3377 Gulf Shore Blvd N Unit 1C                                        Unliquidated
          Naples, FL 34103                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robert L Williams Jr                                                  Contingent
          3033 Trillium Court East                                              Unliquidated
          Aurora, IL 60506                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robert Spence                                                         Contingent
          4251 Salzedo Apt E502                                                 Unliquidated
          Miami, FL 33146                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Schmidt Family Investments LLC                                        Contingent
          Attn: Officer/Manager                                                 Unliquidated
          1650 S State Street, Suite 112                                        Disputed
          Champaign, IL 61820
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sergio Varela                                                         Contingent
          1039 W Mountain St                                                    Unliquidated
          Glendale, CA 91202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Sherri Tuttle                                                         Contingent
          681 E Lake Street #354                                                Unliquidated
          Wayzata, MN 55391                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Silver Mountain Partners LP                                           Contingent
          Attn: Officer/Managing Agent                                          Unliquidated
          2817 Girard Ave, Unit 408                                             Disputed
          Minneapolis, MN 55408
                                                                             Basis for the claim:    Investor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Timothy March                                                         Contingent
          420 Parkway Drive                                                     Unliquidated
          Wheaton, IL 60187                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Tom Beadle (Dolores Beadle)                                           Contingent
          440 Kings Glen Way                                                    Unliquidated
          Wake Forest, NC 27587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.52      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Tony Davis                                                           Contingent
           2831 N Pine Grove Ave                                                Unliquidated
           Chicago, IL 60657                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.53      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $848,641.33
           Tree Line Direct Funding LP                                          Contingent
           c/o Matthew Warren                                                   Unliquidated
           353 N Clark Street, 12th Floor                                       Disputed
           Chicago, IL 60654
                                                                             Basis for the claim:    Account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Tuscola Investments LLC                                              Contingent
           Attn: Officer/Manager                                                Unliquidated
           1240 E CR 1250 N                                                     Disputed
           Tuscola, IL 61953
                                                                             Basis for the claim:    Investor
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Warren Lee                                                           Contingent
           2906 Wendover Place                                                  Unliquidated
           Champaign, IL 61822                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Wes Seitz                                                            Contingent
           4014 Pinecrest Road                                                  Unliquidated
           Champaign, IL 61822                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Investor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       956,327.47

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          956,327.47




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 Fill in this information to identify the case:

 Debtor name         Imperial Frozen Foods Holdco, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)         19-05422-5
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2019 to Filing Date
                                                                                                   Other    See attached

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See attached                                                                                        $0.00         Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership

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    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    See attached                                                                                                              Pending
                                                                                                                                         On appeal
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.
                See attached
                                                                                                                                                               $0.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers            Total amount or
                                                                                                                        were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?
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            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


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 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    See attached                                                                                      EIN:

                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       See attached



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
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          within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       See attached



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       See attached



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See attached




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.




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               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 See attached
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 3, 2020

 /s/ Craig Higgins                                                      Craig Higgins
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                                                               In re [Debtor Name]
                                                               Case No. [Case No.]
                                               SOFA Part 1, Question 1 - Gross revenue from business
SOFA Part 1, Question 1 - Gross Revenue from Business

Debtor Name                                             Gross Revenue         Time Period      Sources of Revenue
                                                                              12/30/2018-
Imperial Frozen Foods Holdco LLC                                        $0.00 11/24/2019       N/A
                                                                              12/31/2017-




                                                                                                                                       Case 19-05422-5-SWH
Imperial Frozen Foods Holdco LLC                                        $0.00 12/29/2018       N/A
                                                                              1/1/2017-
Imperial Frozen Foods Holdco LLC                                        $0.00 12/30/2017       N/A




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                                                                                                                         In re [Debtor Name]
                                                                                                                         Case No. [Case No.]
                                                                            SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days of commencement of this case




SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case

                                                                                                                                                                                                                                                                            Total Amount or
Debtor Name                                       Creditor Name                  Vendor #       Address1                          City            State    Zip     Country       Reasons for payment or transfer                                        Dates of Payments   value
Imperial Frozen Foods HoldCo LLC                  Bradley Dietz AC                              136 East 64th Street, Apt 8C      New York        NY         10065 USA           Restructuring - Advisors                                                    08/28/19                  $5,000.00
Imperial Frozen Foods HoldCo LLC                  MRSAKAHN LLC AC                               36 Brush Hill Road                Newton          MA          2461 USA           Restructuring - Advisors                                                    08/28/19                  $5,000.00
Imperial Frozen Foods HoldCo LLC                  Bradley Dietz AC                              136 East 64th Street, Apt 8C      New York        NY         10065 USA           Restructuring - Advisors                                                    09/04/19                 $10,000.00
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    09/04/19                $109,808.74
Imperial Frozen Foods HoldCo LLC                  MRSAKAHN LLC AC                               36 Brush Hill Road                Newton          MA          2461 USA           Restructuring - Advisors                                                    09/04/19                 $10,000.00
Imperial Frozen Foods HoldCo LLC                  O'Melveny & Myers LLP AC                      Times Square Tower; 7 Times SquareNew York        NY       10036-6524
                                                                                                                                                                   USA           Legal                                                                       09/12/19                 $41,013.00




                                                                                                                                                                                                                              Case 19-05422-5-SWH
Imperial Frozen Foods HoldCo LLC                  Smith Anderson Blount Dorsett Mitch AC        PO Box 2611                       Raleigh         NC       27602-2611
                                                                                                                                                                   USA           Legal                                                                       09/12/19                 $22,283.00
Imperial Frozen Foods HoldCo LLC                  Lazard Middle Market LLC AC                   600 5th Avenue, 4th Floor         New York        NY         10020 USA           Restructuring - Advisors                                                    09/16/19                $100,000.00
Imperial Frozen Foods HoldCo LLC                  Rynn & Janowsky Client Trust Acct AC          PO Box 2611                       Raleigh         NC       27602-2611
                                                                                                                                                                   USA           Legal                                                                       09/18/19                 $25,000.00
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    09/20/19                 $48,627.13
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    09/20/19                 $55,402.51
Imperial Frozen Foods HoldCo LLC                  3TC Design LLC AC                             411 Garrard Street                Covington       KY         41011 USA           Marketing                                                                   09/26/19                  $8,500.00
Imperial Frozen Foods HoldCo LLC                  Bradley Dietz AC                              136 East 64th Street, Apt 8C      New York        NY         10065 USA           Restructuring - Advisors                                                    10/02/19                 $10,000.00
Imperial Frozen Foods HoldCo LLC                  Matthew Kimmel                                5108 Killarney Hope Drive         Raleigh         NC         27613 USA           Payroll                                                                     10/02/19                 $14,659.00
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    10/02/19                 $46,250.00
Imperial Frozen Foods HoldCo LLC                  MRSAKAHN LLC AC                               36 Brush Hill Road                Newton          MA          2461 USA           Restructuring - Advisors                                                    10/02/19                 $10,000.00
Imperial Frozen Foods HoldCo LLC                  Smith Anderson Blount Dorsett Mitch AC        PO Box 2611                       Raleigh         NC       27602-2611
                                                                                                                                                                   USA           Legal                                                                       10/02/19                  $1,584.76
Imperial Frozen Foods HoldCo LLC                  Tree Line Direct Lending LP AC                101 California Street, Suite 1700 San Francisco   CA         94111 USA           Financial Lender Interest                                                   10/02/19                $205,477.33
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    10/04/19                 $55,937.97
Imperial Frozen Foods HoldCo LLC                  Lazard Middle Market LLC AC                   600 5th Avenue, 4th Floor         New York        NY         10020 USA           Restructuring - Advisors                                                    10/10/19                $100,000.00
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    10/10/19                 $48,993.03
Imperial Frozen Foods HoldCo LLC                  O'Melveny & Myers LLP AC                      Times Square Tower; 7 Times SquareNew York        NY       10036-6524
                                                                                                                                                                   USA           Legal                                                                       10/10/19                 $35,838.71
Imperial Frozen Foods HoldCo LLC                  Cobbs Allen Capital LLC dba CAC Sp AC         399 Park Avenue, 8th Floor        New York        NY         10022 USA           Insurance                                                                   10/17/19                 $45,000.00




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Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    10/18/19                 $47,646.05
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    10/24/19                 $50,643.25
Imperial Frozen Foods HoldCo LLC                  Lazard Middle Market LLC AC                   600 5th Avenue, 4th Floor         New York        NY         10020 USA           Restructuring - Advisors                                                    10/31/19                  $3,284.57
Imperial Frozen Foods HoldCo LLC                  Smith Anderson Blount Dorsett Mitch AC        PO Box 2611                       Raleigh         NC       27602-2611
                                                                                                                                                                   USA           Legal                                                                       10/31/19                  $2,742.78
Imperial Frozen Foods HoldCo LLC                  Bradley Dietz AC                              136 East 64th Street, Apt 8C      New York        NY         10065 USA           Restructuring - Advisors                                                    11/01/19                 $10,000.00
Imperial Frozen Foods HoldCo LLC                  Lazard Middle Market LLC AC                   600 5th Avenue, 4th Floor         New York        NY         10020 USA           Restructuring - Advisors                                                    11/01/19                $102,749.26
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    11/01/19                 $65,494.30
Imperial Frozen Foods HoldCo LLC                  MRSAKAHN LLC AC                               36 Brush Hill Road                Newton          MA          2461 USA           Restructuring - Advisors                                                    11/01/19                 $11,123.19
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    11/07/19                 $25,390.22
Imperial Frozen Foods HoldCo LLC                  Smith Anderson Blount Dorsett Mitch AC        PO Box 2611                       Raleigh         NC       27602-2611
                                                                                                                                                                   USA           Legal                                                                       11/14/19                 $75,000.00
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    11/15/19                 $37,279.08
Imperial Frozen Foods HoldCo LLC                  Meru LLC AC                                   1372 Peachtree Street, N.E.       Atlanta         GA         30309 USA           Restructuring - Advisors                                                    11/20/19                 $36,776.78




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                                                                                                  Case No. [Case No.]
                             SOFA Part 3, Question 7 - Legal actions, administrative proceedings, etc. to which the debtor is or was a party within one year of commencement of this case


SOFA Part 3, Question 7 - Legal actions, administrative proceedings, etc. to which the debtor is or was a party within one year of commencement of this case

Debtor Name                                     Case Title and Case Number                                                                 Nature of Case      Court or Agency and Location                            Status of Case
                                                                                                                                           Asset Purchase
                                                                                                                                           Agreement
Imperial Frozen Foods Holdco LLC                GF 617 LLC v Imperial Frozen Foods Holdco LLC; 2:18-CV-1663-RDP                            Termination         US District Court for the Northern District
                                                                                                                                                                                                     Open  of Alabama Southern Division




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                                                                                                                                                                        Case No. [Case No.]
                                                                                                                                                          SOFA Part 6, Question 11 - Payments related to
                                                                                                                                                                            bankruptcy




SOFA Part 6, Question 11 - Payments or transfers related to debtor counseling or bankruptcy made within 1 year preceding commencement of this case

                                                                                                                                                                                                                                                                      If not money, describe property                           Date of Payment or
Debtor Name                                              Who was paid or who received the transfer         Vendor #                  Address1               City        State        Zip            Email or Website Address   Who made the payment, if not debtor?                 transferred                                      Transfer        Total amount or value
Imperial Frozen Foods HoldCo LLC                   Bradley Dietz AC                                                      136 East 64th Street, Apt 8C   New York   NY                   10065   bradley.dietz@gmail.com                                                                                                              08/28/19                       $5,000.00
Imperial Frozen Foods HoldCo LLC                   Bradley Dietz AC                                                      136 East 64th Street, Apt 8C   New York   NY                   10065   bradley.dietz@gmail.com                                                                                                              09/04/19                      $10,000.00
Imperial Frozen Foods HoldCo LLC                   Bradley Dietz AC                                                      136 East 64th Street, Apt 8C   New York   NY                   10065   bradley.dietz@gmail.com                                                                                                              10/02/19                      $10,000.00
Imperial Frozen Foods HoldCo LLC                   Bradley Dietz AC                                                      136 East 64th Street, Apt 8C   New York   NY                   10065   bradley.dietz@gmail.com                                                                                                              11/01/19                      $10,000.00
Imperial Frozen Foods HoldCo LLC                   Lazard Middle Market LLC AC                                           600 5th Avenue, 4th Floor      New York   NY                   10020   www.lazard.com                                                                                                                       09/16/19                     $100,000.00
Imperial Frozen Foods HoldCo LLC                   Lazard Middle Market LLC AC                                           600 5th Avenue, 4th Floor      New York   NY                   10020   www.lazard.com                                                                                                                       10/10/19                     $100,000.00
Imperial Frozen Foods HoldCo LLC                   Lazard Middle Market LLC AC                                           600 5th Avenue, 4th Floor      New York   NY                   10020   www.lazard.com                                                                                                                       10/31/19                       $3,284.57
Imperial Frozen Foods HoldCo LLC                   Lazard Middle Market LLC AC                                           600 5th Avenue, 4th Floor      New York   NY                   10020   www.lazard.com                                                                                                                       11/01/19                     $102,749.26
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    07/29/19                      $35,000.00
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    08/15/19                      $97,168.57




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Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    08/22/19                      $49,868.35
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    09/04/19                     $109,808.74
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    09/20/19                      $48,627.13
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    09/20/19                      $55,402.51
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    10/02/19                      $46,250.00
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    10/04/19                      $55,937.97
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    10/10/19                      $48,993.03
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    10/18/19                      $47,646.05
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    10/24/19                      $50,643.25
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    11/01/19                      $65,494.30
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    11/07/19                      $25,390.22
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    11/15/19                      $37,279.08
Imperial Frozen Foods HoldCo LLC                   Meru LLC AC                                                           1372 Peachtree Street, N.E.    Atlanta    GA                   30309   www.wearemeru.com                                                                                                                    11/20/19                      $36,776.78
Imperial Frozen Foods HoldCo LLC                   MRSAKAHN LLC AC                                                       36 Brush Hill Road             Newton     MA                    2461   matthewrkahn@gmail.com                                                                                                               08/28/19                       $5,000.00
Imperial Frozen Foods HoldCo LLC                   MRSAKAHN LLC AC                                                       36 Brush Hill Road             Newton     MA                    2461   matthewrkahn@gmail.com                                                                                                               09/04/19                      $10,000.00
Imperial Frozen Foods HoldCo LLC                   MRSAKAHN LLC AC                                                       36 Brush Hill Road             Newton     MA                    2461   matthewrkahn@gmail.com                                                                                                               10/02/19                      $10,000.00
Imperial Frozen Foods HoldCo LLC                   MRSAKAHN LLC AC                                                       36 Brush Hill Road             Newton     MA                    2461   matthewrkahn@gmail.com                                                                                                               11/01/19                      $11,123.19
Imperial Frozen Foods HoldCo LLC                   O'Melveny & Myers LLP AC                                              Times Square Tower; 7 Times Square
                                                                                                                                                        New York   NY            10036-6524     www.omm.com                                                                                                                          09/12/19                      $41,013.00
Imperial Frozen Foods HoldCo LLC                   O'Melveny & Myers LLP AC                                              Times Square Tower; 7 Times Square
                                                                                                                                                        New York   NY            10036-6524     www.omm.com                                                                                                                          10/10/19                      $35,838.71




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                                                                                                                       Case No. [Case No.]
                                                                                    SOFA Part 13, Question 25 - Other businesses in which the Debtor has or has had an interest




SOFA Part 13, Question 25 - Other businesses in which the Debtor has or has had an interest

Debtor Name                                      Business Name                                Address1                   City            State     Zip            Nature of Business          Taxpayer ID No. (EIN)                                    Beginning and Ending Dates
Imperial Frozen Foods Holdco
LLC                              Happy and Healthy Hold Co LLC                   383 Corona Street, Suite 224        Denver         CO               80218 Frozen smoothies and overnight oats
                                                                                                                                                                                          XX-XXXXXXX                                               06/2018 thru current
Imperial Frozen Foods Holdco
LLC                              Happy Healthy LLC (JV)                          383 Corona Street, Suite 224        Denver         CO               80218 Frozen smoothies and overnight oats
                                                                                                                                                                                          XX-XXXXXXX                                               06/2018 thru current
Imperial Frozen Foods Holdco
LLC                              Energy Club Holdings LLC                        6080 Center Drive, Suite 600        Los Angeles CA                  90045 Dried pea snack products      XX-XXXXXXX                                                10/2018 thru current




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                               SOFA Part 13, SOFA 26d - Creditors and other parties to whom a financial statement was issued

SOFA Part 13, Question 26d - Creditors and other parties to whom a financial statement was issued within 2 years preceding commencement of this case

Debtor Name                                Name               Vendor #             Address1       City            State                                                     Zip
Imperial Frozen Foods Holdco
LLC                               Kenex Holdings LLC                        111 W Maple Street,
                                                                                             Chicago
                                                                                                Apt 2002   IL                                                                60601
Imperial Frozen Foods Holdco




                                                                                                                                                  Case 19-05422-5-SWH
LLC                               Ares Management LLC                       560 White Plains Road,
                                                                                              Tarrytown
                                                                                                   Suite 400NY                                                               10591
Imperial Frozen Foods Holdco
LLC                               Treeline Capital Partners LLC             101 California Street,
                                                                                               SanSuite
                                                                                                   Francisco
                                                                                                        1700 CA                                                              94111




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                                                                         SOFA Part 13, Question 26a - Bookkeepers and accountants


SOFA Part 13, Question 26a - Bookkeepers and accountants used within 2 years of commencement of this case

Debtor Name                                                          Name                Vendor #                 Address1             City        State                                                Zip         Dates Services Rendered
Imperial Frozen Foods Holdco LLC                           Craig Higgins                                2104 Higley Drive           Wake Forest NC                                                       27587 12/2014 thru 11/2019
Imperial Frozen Foods Holdco LLC                           Amy Ford                                     6316 Clamshell Drive        Wake Forest NC                                                       27587 1/2015 thru 11/2019




                                                                                                                                                                                   Case 19-05422-5-SWH
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                                                                                         Case No. [Case No.]
                                       SOFA Part 13, Question 26b - Firms or individuals who audited the books and records or prepared a financial statement


SOFA Part 13, Question 26b - Firms or individuals who audited the books and records or prepared a financial statement within 2 years preceding commencement of this case

Debtor Name                                                       Name                 Vendor #             Address1        City          State         Zip                                                 Dates Services Rendered
Imperial Frozen Foods Holdco LLC                       Elliott Davis LLP/PLLC      ELLIO001             PO Box 6286     Greenville   SC            29606-6286                                          2017 and 2018 Audit/Tax Prep




                                                                                                                                                                             Case 19-05422-5-SWH
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                                                                              In re [Debtor
                                                                                  Case No. [Case No.]
                                       SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.


SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.



Debtor Name                               Name               Address1           City          State         Zip     Position and nature of any interest   Percentage of interest, if any
Imperial Frozen Foods Op Co
LLC                             Kenex Holdings LLC       111 W Maple Street,
                                                                          Chicago
                                                                             Apt 2002    IL                  60601 Private Equity Owner                                              100%
Imperial Frozen Foods Op Co
LLC                             Craig Higgins            2104 Higley Drive Wake Forest NC                    27587 Chief Financial Officer                                                 0%
Imperial Frozen Foods Op Co
LLC                             Luca Da Ponte            4309 Gallatree LaneRaleigh      NC                  27616 VP of Purchasing                                                        0%
Imperial Frozen Foods Op Co
LLC                             Matthew Goldtwaite       2840 Fossil Creek Drive
                                                                           Midlothian TX                     76065 Senior VP of Sales                                                      0%
Imperial Frozen Foods Op Co
LLC                             Rodrigo Troni            2823 Plantation Road
                                                                           Charlotte     NC                  28270 Chief Executive Officer                                                 0%
Imperial Frozen Foods Op Co
LLC                             Nick Campbell            1372 Peachtree Street
                                                                            Atlanta
                                                                               NE        GA                  30309 Chief Restructuring Officer                                             0%




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                                                                              In re [Debtor
                                                                                  Case No. [Case No.]
                                       SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.


SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.



Debtor Name                               Name               Address1           City          State         Zip     Position and nature of any interest   Percentage of interest, if any
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC       111 W Maple Street,
                                                                          Chicago
                                                                             Apt 2002    IL                  60601 Private Equity Owner                                              100%
Imperial Frozen Foods Holdco
LLC                             Craig Higgins            2104 Higley Drive Wake Forest NC                    27587 Chief Financial Officer                                                 0%
Imperial Frozen Foods Holdco
LLC                             Luca Da Ponte            4309 Gallatree LaneRaleigh      NC                  27616 VP of Purchasing                                                        0%
Imperial Frozen Foods Holdco
LLC                             Matthew Goldtwaite       2840 Fossil Creek Drive
                                                                           Midlothian TX                     76065 Senior VP of Sales                                                      0%
Imperial Frozen Foods Holdco
LLC                             Rodrigo Troni            2823 Plantation Road
                                                                           Charlotte     NC                  28270 Chief Executive Officer                                                 0%
Imperial Frozen Foods Holdco
LLC                             Nick Campbell            1372 Peachtree Street
                                                                            Atlanta
                                                                               NE        GA                  30309 Chief Restructuring Officer                                             0%




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                                                                                  Case No. [Case No.]
                                       SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.


SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.



Debtor Name                              Name                Address1           City      State             Zip       Position and nature of any interest   Percentage of interest, if any
Imperial Snacks LLC             Kenex Holdings LLC       111 W Maple Street,Chicago
                                                                             Apt 2002 IL                     60601   Private Equity Owner                                               100%
Imperial Snacks LLC             Craig Higgins            2104 Higley Drive Wake Forest NC                    27587   Chief Financial Officer                                               0%
Imperial Snacks LLC             Luca Da Ponte            4309 Gallatree LaneRaleigh    NC                    27616   VP of Purchasing                                                      0%
Imperial Snacks LLC             Matthew Goldtwaite       2840 Fossil Creek Drive
                                                                            Midlothian TX                    76065   Senior VP of Sales                                                    0%
Imperial Snacks LLC             Rodrigo Troni            2823 Plantation Road
                                                                            Charlotte  NC                    28270   Chief Executive Officer                                               0%
Imperial Snacks LLC             Nick Campbell            1372 Peachtree Street
                                                                            Atlanta
                                                                               NE      GA                    30309   Chief Restructuring Officer                                           0%




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                                                                                                                                       In re [Debtor Name]
                                                                                                                                       Case No. [Case No.]
                                                                          SOFA Part 13, Question 30 - Payments, distributions, or withdrawals credited to an insider within 1 year preceding commencement of this case




SOFA Part 13, Question 30 - Payments, distributions, or withdrawals credited to an insider within 1 year preceding commencement of this case

                                                                                                                                                                                                         Amount of money or description of                                                      Reason for providing
Debtor Name                         Creditor Name           Vendor #                     Address1                      City          State         Zip      Country          Relationship to Debtor          and value of property                                          Date of Payment            value
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $20,000.00              12/20/2018 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $20,000.00              12/27/2018 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $18,990.63               1/16/2019 Management Fee
Imperial Frozen Foods Holdco




                                                                                                                                                                                                                                                  Case 19-05422-5-SWH
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $19,741.76               2/15/2019 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $14,518.19               3/13/2019 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $21,372.38               4/22/2019 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $20,000.00                5/1/2019 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $19,558.43               5/15/2019 Management Fee
Imperial Frozen Foods Holdco
LLC                             Kenex Holdings LLC                        111 W Maple Street, Apt 2002             Chicago      IL                  60601 USA            Private Equity Investors                                                            $20,000.00               6/18/2019 Management Fee




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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      Imperial Frozen Foods Holdco, LLC                                                             Case No.   19-05422-5
                                                                                     Debtor(s)            Chapter    7




                                VERIFICATION OF CREDITOR MATRIX - AMENDED


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       February 3, 2020                                             /s/ Craig Higgins
                                                                          Craig Higgins/CFO
                                                                          Signer/Title




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Advantage Capital Ag Partners L.P.    City of Savannah Revenue Department   Gen 7 Investments
Attn: Officer/Manager                 PO Box 1228                           Attn: Officer/Managing Agent
190 Carondelet Plaza, Suite 1500      Savannah, GA 31402                    101 5th Street North
Saint Louis, MO 63105                                                       Fargo, ND 58102



Alabama Department of Revenue         Cody Miller                           Georgia Department of Revenue
PO Box 327320                         385 Ridgewood Park Drive N            PO Box 105678
Montgomery, AL 36132                  Richmond Hill, GA 31324               Atlanta, GA 30348




Alex McIntosh                         Craig Higgins                         GK Holdings 1, LLC
913 Southerly Road, #034              2104 Higley Drive                     Attn: Officer/Manager
Towson, MD 21204                      Wake Forest, NC 27587                 150 N Riverside Plz, Ste 4270
                                                                            Chicago, IL 60606



Alex Meyer                            Daniel Asher Descendants Trust        H.P. Skolnick, Inc
2468 N Bogus Basin Road               Attn: Officer/Manager                 Attn: Officer/Manager
Boise, ID 83702                       111 W Jackson Blvd, Ste 2000          PO Box 3354
                                      Chicago, IL 60604                     Monterey, CA 93942



Amy Ford                              Dewey Pegno and Kramarsky LLP         Henneman Family, LLC Series B
6316 Clamshell Drive                  Attn: Officer/Manager                 Attn: Officer/Manager
Wake Forest, NC 27587                 777 Third Avenue                      1605 S State St
                                      New York, NY 10017                    Champaign, IL 61820



Ankura Consulting Group               Edward Behen                          Internal Revenue Service
Attn: Officer/Manager                 1761 Old Homestead                    P. O. Box 7346
485 Lexington Avenue                  Rochester, MI 48306                   Philadelphia, PA 19101
New York, NY 10017



Bill Arends                           Eric Meyer                            Irv Kessler
167 Colonade Circle                   34 San Savio Drive                    Attn: Officer/Managing Agent
Naples, FL 34103                      Austin, TX 78738                      2800 Niagara Lane
                                                                            Minneapolis, MN 55447



Brian Tracy                           Foundation for Education and R&D      Jai Kim Jung
4125 N Hermitage Ave                  Attn: Officer/Managing Agent          Attn: Officer/Managing Agent
Chicago, IL 60613                     2800 Niagara Lane                     205 Hudson St
                                      Minneapolis, MN 55447                 New York, NY 10013



Chatham County Tax Commissioner       Gary Freeman                          Jeremy Medler
PO Box 117037                         1715 Blair House Court                402 Trefoil Street
Atlanta, GA 30368                     Bloomfield Hills, MI 48302            Savoy, IL 61874
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JJ&E Heritage Holding LLC                 Laurie Steed                        NC Department of Revenue
Attn: Officer/Managing Agent              104 Darmouth Road                   Bankruptcy Unit
4147 66th St S                            Raleigh, NC 27609                   P.O. Box 1168
Fargo, ND 58104                                                               Raleigh, NC 27602



Joda Crabtree                             Leonard Patrict Hanemann            Nicholas Cooper
PO Box 461                                6919 N 1st Lane                     111 West Wacker, Apt 2010
Watseka, IL 60970                         McAllen, TX 78504                   Chicago, IL 60601




John Gibbons                              Leslie Neitzel Revocable Trust      NYS Tax Department - IT-2659
940 Lawrence Avenue                       Attn: Officer/Manager               PO Box 15179
Westfield, NJ 07090                       4308 Brittany Trail Drive           Albany, NY 12212
                                          Champaign, IL 61822



John March                                Lightfoot Franklin & White LLC      Peter Kenefick
13225 Cardinal Creek Road                 Attn: Officer/Manager               581 E Lake Street
Eden Prairie, MN 55346                    400 20th St North, Clark Building   Wayzata, MN 55391
                                          Birmingham, AL 35203



Keeling Family Limited Partnership        Luca DaPonte                        Prophet Capital Management, LTD
Attn: Officer/Manager                     4309 Gallatree Lane                 Attn: Officer/Manager
1624 Cobblefield Road                     Raleigh, NC 27616                   5000 Plaza on the Lake #180
Champaign, IL 61822                                                           Austin, TX 78746



Kenex Holdings LLC                        Matt Goldthwaite                    Rick Schmidt
Attn: Officer/Manager                     503 Marquis Lane                    3377 Gulf Shore Blvd N Unit 1C
150 N Wacker, Suite 3025                  Mansfield, TX 76063                 Naples, FL 34103
Chicago, IL 60606



Kessler Family Limited Partnership        Matt Lester                         Robert L Williams Jr
Attn: Officer/Managing Agent              2550 Telegraph Road, Suite 200      3033 Trillium Court East
2800 Niagara Lane                         Bloomfield Hills, MI 48302          Aurora, IL 60506
Minneapolis, MN 55447



Kevin Migdal                              Michael Small                       Robert Spence
3044 Lawson Walk Way                      2014 Byrnebruk Drive                4251 Salzedo Apt E502
Rolesville, NC 27571                      Champaign, IL 61822                 Miami, FL 33146




Lakeview Group LLC                        Mike Zwiegbaum                      Schmidt Family Investments LLC
Attn: Officer/Manager                     29 Circle W                         Attn: Officer/Manager
150 N Wacker Drive, Suite 3025            Minneapolis, MN 55436               1650 S State Street, Suite 112
Chicago, IL 60606                                                             Champaign, IL 61820
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Sergio Varela                              Tree Line Direct Funding LP
1039 W Mountain St                         c/o Matthew Warren
Glendale, CA 91202                         353 N Clark Street, 12th Floor
                                           Chicago, IL 60654



Sherri Tuttle                              Tuscola Investments LLC
681 E Lake Street #354                     Attn: Officer/Manager
Wayzata, MN 55391                          1240 E CR 1250 N
                                           Tuscola, IL 61953



Silver Mountain Partners LP                Warren Lee
Attn: Officer/Managing Agent               2906 Wendover Place
2817 Girard Ave, Unit 408                  Champaign, IL 61822
Minneapolis, MN 55408



Social Security Administration             Wes Seitz
Office of the General Counsel, Regi        4014 Pinecrest Road
61 Forsyth Street, SW, Ste 20T45           Champaign, IL 61822
Atlanta, GA 30303



Texas Department of State Health Se
PO Box 12008
Austin, TX 78711




Thompson Coburn LLP
Attn: Jarrod Sharp
One US Bank Plaza
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Timothy March
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